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                                    #:3721


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 12                        UNITED STATES DISTRICT COURT
 13                       CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
 14
      SERENA FLEITES,                         CASE NO. 2:21-CV-04920-CJC-ADS
 15
                 Plaintiff,                   Judicial Officer:   Autumn D. Spaeth
 16
           v.
 17                                           NOTICE OF MOTION BY
    MINDGEEK S.A.R.L.; MG                     MINDGEEK ENTITY
 18 FREESITES, LTD; MINDGEEK USA              DEFENDANTS TO COMPEL
                                              PLAINTIFF’S RESPONSE TO
 19 INCORPORATED; MG PREMIUM                  INTERROGATORIES AND
    LTD.; MG GLOBAL                           REQUESTS FOR PRODUCTION
 20                                           OF DOCUMENTS
    ENTERTAINMENT INC.; 9219-5618
 21 QUEBEC INC.; BERND BERGMAIR;              Hearing:   December 21, 2022
    FERAS ANTOON; DAVID                       Time:      10:00 a.m.
 22                                           Courtroom: 6B
    TASSILLO; COREY URMAN; VISA
 23 INC.; COLBECK CAPITAL DOES 1-             Jurisdictional Discovery Deadline:
    5; BERGMAIR DOES 1-5                      December 30, 2022
 24
 25           Defendants.
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                                                                    CASE NO. 2:21-cv-04920
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  1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2         PLEASE TAKE NOTICE THAT, on December 21, 2022, at 10:00 a.m., or
  3 as soon thereafter as the matter may be heard, in Courtroom 6B of the above-entitled
  4 Court, located at 411 West 4th Street, Santa Ana, California 92701-4516, Defendants
  5 MindGeek S.à.r.l., MG Freesites Ltd, MindGeek USA Inc., MG Premium Ltd, MG
  6 Global Entertainment Inc., and 9219-5618 Quebec Inc. will and hereby do move the
  7 Court for an order compelling Plaintiff to respond to discovery and produce
  8 documents pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure. This
  9 Motion is based upon this Notice of Motion and Joint Stipulation and accompanying
 10 exhibits, the pleadings and papers on file in this action, any argument in connection
 11 with the Motion, and such further evidence or arguments as the Court may consider.
 12 This Motion is made following the conference of counsel pursuant to L.R. 37-1,
 13 which took place on November 14, 2022.           During that telephone conference,
 14 Defendants’ counsel discussed with Plaintiff’s counsel the deficiencies in Plaintiff’s
 15 discovery responses. Defendants understood from the conference that Plaintiff does
 16 not intend to fully supplement her discovery responses.
 17
 18
 19 Dated: November 30, 2022                  /s/ Kathleen N. Massey
 20                                         Kathleen N. Massey (pro hac vice)

 21                                         Attorneys for MindGeek Entity Defendants
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                                                                      CASE NO. 2:21-CV-04920
                                 NOTICE OF MOTION TO COMPEL
